Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 1 of 12

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia [=]

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AUH€lE NUSDS EY )
Plaintiff(s) )

v. Civil Action No.
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Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Ane 2 Ass 9

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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 2 of 12

AO 440 (Rev. 06/12; DC 3/15) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia [y]

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AOR KE Neth )
Plaintiff(s) )

V. Civil Action No.
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‘ble University et a@ )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 3 of 12

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia [=]

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Plaintiff(s) )

Vv. Civil Action No.
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SUMMONS IN A CIVIL ACTION

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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 4 of 12

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

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Plaintiff(s) )
Vv. Civil Action No.
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Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
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Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 5 of 12

AO 440 (Rev. 06/12: DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

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Plaintiff(s) )
Vv. Civil Action No.
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Defendant(s) )

SUMMONS IN A CIVIL ACTION

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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose natne and address are: AORETE Ano -
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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 6 of 12

AO +40 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

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Plaintiff(s) )
v. Civil Action No.
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YALE univelsity ET AE - )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Aone ze ANMAEDS VU
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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 7 of 12

AO 440 (Rev. 06/12; DC 3/15) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the
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Plaintiff(s) )
v. Civil Action No.
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Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: :

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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF C OURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 8 of 12

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia [=]

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u Civil Action No.

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Gate Uni VERSITY él Ad -
Defendant(s) )

SUMMONS IN A CIVIL ACTION

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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 9 of 12

AO 440 (Rev. 06/12; DC 3/15) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the
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Plaintiffis) )
v. Civil Action No.
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SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 10 of 12

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
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Plaintiff(s) )
Vv. Civil Action No.
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Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 11 of 12

AO 440 (Rev. 06/12. DC 3/15) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia [x]
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Plaintiff(s) )
Vv. Civil Action No.
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: Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: “a note poptSes

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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:24-cv-02213-CRC Document 4 Filed 07/29/24 Page 12 of 12

AO 440 (Rev 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia [=4
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Plaintiff(s) )
v. Civil Action No.
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UALe WIE RSITG ET AZ.
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

Richard S. Weisman
Office of General Counsel
1535 Levante Avenue
2nd Floor

Coral Gables, FL 33146

A lawsuit has been filed against you.
Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.

P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Abe 2E MUres v

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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
